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UNITED STATES DISTRICT COURT t_-Hrt_'._ l:y:l;;

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wESTERN DISTRICT oF TENNESSEE 3 33, ti

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U.S.A. vs. Marrio Ledlow Docket No. 2:00CR20006-03

Petition on Probation and Supervised Release

COMES NOW Mamie Kl}g_n_an PROBATION ()FFICER OF THE COURT presenting an official
report upon the conduct and attitude of Marrio Ledlow who Was placed on supervision by the Honorable@
Phipps McCaiia sitting in the court at Memghis, Tennessee, on the 28‘h day of Sentember , 2000. who fixed the
period of supervision at five (51 years* , and imposed the general terms and conditions theretofore adopted by the
court and also imposed special conditions and terms as follows:

* Mr. Ledlow’s Supervised Release began on June 6, 2003.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

(lfshon insert here', if lengthy write on separate sheet and attach)

On April 5, 2005, Mr. Ledlow tested positive for marijuana Mr. Ledlow admitted he used marijuana and he has
signed the attached Waiver of Hearing form agreeing to the modification of Supervised Release.

PRA‘{ING THAT THE COURT WILL ORI)ER that Mr. Ledlow’s conditions ofSuperVised Release be amended
to include drug testing and treatment as deemed necessary/directed by the U. S. Probation Ofiice.

 

ORDER ()F COURT Respectful]y,
Cons`dered and ordered this 21 day ~”)Q/(A»\_d /649;0 0
of é@ -l- , 2025-__ and ordered Marnie Klyman

E]ed and made a part of the records
in the above case.

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C}l£éd States District Judge

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U. S Probation OHicer

Place: Memnhis TN

Date: April 20. 2005

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(3¢89)

Um'ted States District Court

wEsTERN District TENNESSEE

Waiver of Hearing to Modify Conditions
of ProbationlSupervised Release or Extend Term of Supervision

l have been advised and understand that | am entitled by law to a hearing and assistance of counsel
before any unfavorable change may be made in my Conditions of Probation and Supervised Re|ease or
my period of supervision being extended By "assistance of counse|," l understand that l have the right to
be represented at the hearing by counsel of my own choosing if t am able to retain counse|. l also
understand that l have the right to request the court to appoint counsel to represent me at such a hearing
at no cost to myself if i am notable to retain counsel of my own choosing

| hereby voluntarily waive my statutory right to a hearing and to assistance of counsel l also agree to
the following modification of my Conditions of Probation and Supervised Release or to the proposed
extension of my term of supervision:

You shall participate in a program which may include inpatient therapy for treatment of
drugla|coho| dependency, including druglalcoho| testing to determine if you have reverted to the use of
drugs/alcohol You shall also abstain from the use of drugs/alcohol during and after the course of
treatment

Ntness:‘M@g_lQ@Q/; Signed: Mq/U\/Vl/V§/ M/
MARN|E KLYMAN MARR|O LEDLOW
U. S. Probation Officer Probationer/Supervised Re|easee

‘;i. -/_?»0$“

Date

`ISTRICT COURT - WESTER DI'S'TRICT oF ENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 117 in
case 2:00-CR-20006 Was distributed by faX, mail, or direct printing on
Apri125, 2005 to the parties listed.

 

 

Christopher E. Cotten

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

